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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

PETER PILARSKI, individually and         )                  Case No. 17-cv-08659
on behalf of similarly situated persons, )
                                         )                  Hon. Rebecca R. Pallmeyer
                       Plaintiff,        )
                                         )
                v.                       )
                                         )
RENT RECOVER OF BETTER NOI LLC,          )
later incorporated as RENT RECOVER, LLC, )
and BETTERNOI, LLC,                      )
                                         )
                       Defendants.       )

                        PLAINTIFF’S REPLY IN SUPPORT OF HIS
                         MOTION FOR SUMMARY JUDGMENT

I.      Rent Recover does not Rebut that Plaintiff is Entitled to Summary Judgment on the
        Threshold Elements of Establishing a Claim under the FDCPA and the Michigan
        Occupational Code

        Rent Recover does not dispute that Plaintiff has established the three threshold elements

under the FDCPA that: : (1) Plaintiff is a consumer within the meaning given in the statute; (2)

Plaintiff’s debt arises out of a transaction entered primarily for personal, family, or household

purposes; and (3) that Defendant Rent Recover of Better NOI LLC who was collecting the debt is

a "debt collector" under the Act. Likewise, Rent Recover does not argue to the contrary that it is

subject to the Michigan Occupational Code. Therefore, this Court should find for Plaintiff that

Rent Recover is subject to the FDCPA and MOC.

II.     Rent Recover of Better NOI Violated the FDCPA and MOC (Class Claim) when
        Stating in the Subject Form Letter as “Due” 7 % Interest and Its Interpretation of
        the Usury Act was Unreasonable
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       Defendant’s reliance on Michigan’s Usury Act, MCL 438.311, to apply 7% interest on

Plaintiff’s debt, is incorrect and was not a reasonable reading of Michigan’s law, as set forth here

and further discussed in reply to Defendant’s bona fide error defense asserted.

       First as found by this Court, Michigan’s Usury Statute is a defense to a claim of interest,

not a statute that provides for monetary damages and denied Rent Recover’s Rule 12(b)(6) Motion

to Dismiss. Likewise, this Court should reject Rent Recover’s rehashed arguments presented here.

It was simply an unreasonable reading to take a defense to a contract and apply it as a right to add

7% interest under Plaintiff’s lease, or into leases that have no mention of interest whatsoever. See

e.g. (Exhibit A, Toache Dep. Ex. 14); see (Exhibit B, Toache Dep. Tr. 32:1-33:6).

       Second, the Michigan Usury Statute is not found within in the landlord – tenant context.

In Michigan, the relationship between a landlord and a tenant is heavily regulated. See Landlord

and Tenant Relationships, MCL 554.601 et seq., Summary Proceedings to Recover Possession of

Premises, MCL 600.5701 et. seq., Michigan Truth in Renting Act, MCL 554.631 et. seq. This

heavily regulated area is more than likely why, as Defendant points out, there has never before

been a challenge attempting to apply the Michigan Usury Statute in the landlord-tenant context.

       A landlord is clearly not a “lender” and Defendant cites no cases to support this position.2

Notably, a landlord gives a right of entry upon real property to the tenant without transferring their

ownership right to the tenant, whereas a “lender” who lends money thereby transferring that




1
 The Act’s proper name is “Interest Rates Act 326 of 1966” and its popular name is “Usury Act”.
http://www.legislature.mi.gov/(S(axe1k0g442wohqagwjmvk3tv))/mileg.aspx?page=getObject&
objectName=mcl-Act-326-of-1966.
2
  If Defendant’s landlord client is a “lender” as a matter of law, it would be an unlicensed lender
engaged in the commercial practice of lending, then Plaintiff requests this Court leave to amend
the Complaint to bring in the landlord to assert class violations of the Truth in Lending Act and
Dodd-Frank.

                                                  2
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ownership right to the money to the borrower in return for payments towards the principal and

interest for the loss of the use of their money. See Mich. Pipe & Valve-Lansing, Inc. v. Hebeler

Enters., 292 Mich. App. 479, 490 (Mich. App. 2011) (quoting Black's Law Dictionary (7th ed))

(“Interest is ‘[t]he compensation fixed by agreement or allowed by law for the use or detention of

money, or for the loss of money by one who is entitled to its use; [especially], the amount owed to

a lender in return for the use of borrowed money.’”). Furthermore, a landlord, unlike a lender, can

protect themselves from the loss of rent by adding that risk of nonpayment into the amount of

monthly rent, and in Michigan landlords are allowed to require the tenant to pay in advance a

security deposit in an amount “not [to] exceed 1 ½ months’ rent.” MCL 554.602.

       Third, the section in Plaintiff’s lease, section 1, is a standalone paragraph at the end of the

Lease, “1. COSTS” which provides in its entirety:

       COSTS. Lessee agrees to be responsible for any costs of collection allowed by Michigan
       Law should collection and/or summary proceedings be initiated to collect delinquent
       amounts owing under this lease. If Lessee moves out owing any sums to Providence at
       Harbour Club, it is agreed that the maximum amount of interest allowed by Michigan law
       shall be added on from the date of the Lessee’s moving out. Court costs are assessed the
       day the case is filed.

       (SMF, Ex. I, PageID #:384).

       Notably, the title of the section’s title is “COSTS” and it expressly states that, “Court costs

are assessed the day the case is filed.”   (SMF, Ex. I, PageID #:384). A title may be considered

as an indication of Congressional intent insofar as it ‘sheds light’ on some ambiguous word or

phrase in the statute. Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 483, 121 S. Ct. 903, 149 L.

Ed. 2d 1 (2001), and thus the remedies in this “COSTS” section refer to litigation. Furthermore

given the location of this provision in Plaintiff’s lease and the plain text identifying a condition

precedent, “collection . . . proceedings”, a lawsuit, and/or “summary proceedings”, which under

Michigan state law, MCL 600.5701(a), “means a civil action to recover possession of premises



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and to obtain ancillary relief as provided by this chapter and by court rules adopted in connection

therewith” and Michigan Court Rule 4.201 “Summary Proceedings to Recover Possession of

Premises”, as the only reasonable reading of the provision is that the “interest” referenced are

Michigan’s pre and post judgment rates which change every six months. MCL 600.6013(7), (8).

       Fourth it was not Plaintiff’s landlord who added the 7% Interest amount at the time Plaintiff

moved out of the apartment he was renting, it was Rent Recover who unilaterally made the decision

to start adding 7% Interest from the date the file was placed with Rent Recover. (Exhibit B, Toache

Dep. Tr. 57:3-16). Furthermore, it is unknown anybody at Rent Recovery actually read Plaintiff’s

lease or the lease of any other proposed class member prior to the subject form letter was sent out.

(Id. Dep. Tr. 39:8-16); c.f. (Id. Dep. Tr. 71:10-23) (noting that Rent Recover “don’t necessarily

have that manpower” to enter into the collector’s notes whether a letter was returned.). Notably

the 7% interest rate was added to leases that have no mention of interest whatsoever. See e.g.

(Exhibit A attached hereto, Toache Dep. Ex. 14).

       Fifth, the ACA State Interest Rates publication relied upon by Rent Recover states in

pertinent part, “[t]his information is provided only as a guide and is not intended to be, nor is it,

legal advice”, (Exhibit C, ACA SearchPoint, State Interest Rates, p. 2 (June 30, 2017)), and:

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       associated with the Content.

       (Id., p. 50).




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         Sixth, Rent Recover raises a commonality/typicality argument that would have been and

was addressed in opposition to Plaintiff’s motion for class certification. Notably, Rent Recover

overlooks the substance of its corporate representative’s deposition:

                A. They did vary, but specifically we didn't have a lot of clients. We had a lot of
                debtors from those clients. So their lease agreements were pretty standard in
                what they used.
                Q. Okay. Would that be true for the leases over the years for the Michigan clients;
                let's say, for instance, you have a Michigan client that you had from 2010. Is it
                possible that the lease changed throughout the course of your representation of
                that client?
                A. I don't recall. Looking back though, they seem pretty formed. They’re a
                standard lease agreement.

                (Def. SMF Ex. J, Toache Dep. Tr. 86:9-21) (emphasis added).

         Rent Recover does not dispute that the leases for each landlord respectively were the same

“standard lease agreement” and that it only found one landlord who expressly added in 7% interest

in its form leases, a landlord whose former tenants are expressly excluded proposed class

definition. See (Doc. 48, PageID #:306) (“the Court can modify the proposed class definition and

certify a class that expressly excludes persons with leases from Pavilion Apartments Limited

Partnership[.]”).

         Therefore, for these reasons above and in his opening motion, Plaintiff requests this

Honorable Court to find that Rent Recover violated the FDCPA and MOC, and that as for the

purpose of the MOC, that it willfully violated the Act’s protections as a matter of law.

II.      Rent Recover Asserted Affirmative Defenses

      A. Statute of Limitations Defense

         Rent Recover has not raised a single fact or legal argument to support its first affirmative

defense, “Statute of Limitations” Defense. Therefore, this Court should grant Plaintiff’s motion

as to this frivolously raised defense.




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    B. Bona Fide Error Defenses

         i. “Due” Interest at 7% Annum (Class Claim)

         “[A] defendant can invoke the bona fide error defense only if it claims it made an error of

fact, not an error of law.” Evans v. Portfolio Recovery Assocs., LLC, 889 F.3d 337, 349 (7th Cir.

2018) (citing Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 604-05,

130 S. Ct. 1605, 176 L. Ed. 2d 519 (2010)); Phillips v. Amana Collection Services, 1992 U.S. Dist.

LEXIS 13558 * 18, 1992 WL 227839 (W.D.N.Y. Aug. 25, 1992) (citing Pipiles v. Credit Bureau

of Lockport, Inc., 886 F.2d 22, 27 (2d Cir. 1989) (“Mistake of law, however, is insufficient to

establish a bona fide error defense, even where the defendant has relied on advice of counsel”).

Prior to Evans, in Seeger v. AFNI, Inc., 548 F.3d 1107 (7th Cir. 2008), the Seventh Circuit found

that no bona fide error exists when interpreting Wisconsin state law regarding adding a collection

fee, noting that the defendant did not “consult[] an attorney in Wisconsin on state law issues, nor

did it ask a Wisconsin governmental agency whether it was entitled to charge a collection fee as

the owner of the debt.” Id. at 1114.

         Furthermore, review or reliance of ACA materials do not provide a debt collector a bona

fide error defense. Hale v. AFNI, Inc., 2010 U.S. Dist. LEXIS 6715 * 28, 2010 WL 380906 (N.D.

Ill. Jan. 26, 2010) (noting that the defendant “stated that its procedures involved reviewing legal

summaries prepared by the ACA and another trade association, submitting its form letter to the

ACA, and reviewing excerpts of the relevant law. Id. [Seeger 548 F.3d] at 1114. The Seventh

Circuit found these procedures inadequate and stated specifically that [the defendant’s] reliance

on trade association communications was insufficient to entitle it to the bona fide error defense.

Id.”).




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       Notably the ACA materials in part state, “[t]his information is provided only as a guide

and is not intended to be, nor is it, legal advice.” (Exhibit C, ACA SearchPoint, State Interest

Rates, p. 2 (June 30, 2017), and:

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       associated with the Content.

       (Id., p. 50).

       ii. Bankruptcy (Individual Claim)

       Ignorance of a debtor’s bankruptcy is no excuse as “§ 1692e applies even when a false

representation was unintentional.” Gearing v. Check Brokerage Corp., 233 F.3d 469, 472 (7th Cir.

2000) (citing Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2d Cir. 1996)) (because the Act imposes

strict liability, a consumer need not show intentional conduct by the debt collector to be entitled to

damages)); see also see In re Madaj, 149 F.3d 467, 472 (6th Cir. 1998) (debts whether listed in

the petition or not are discharged). Furthermore, bankruptcy filings are a matter of public record

easily obtained online via PACER, https://www.pacer.gov, and in Plaintiff’s case, also from the

Eastern District of Michigan Bankruptcy Court’s3 ECF system, https://ecf.mieb.uscourts.gov, can




3
  Oddly, even though bankruptcy is a matter before the federal bankruptcy courts, Rent Recover
vaguely stated only after a debtor informs it that the debtor may be filing bankruptcy, that its policy
to, “review the account every 30 days in the county in which the consumer lives to determine
whether they have filed for bankruptcy.” (Def. Add’l SMF ¶ 39) (emphasis added).

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be searched by social security number, which is a unique nine digit number, and name, at a cost of

for $0.10 per page.

       Plaintiff’s debt, the principal amount of which was $529 (five hundred twenty-nine

dollars). See (Doc. 1-1, Complt. Ex. C, PageID#: 32). It cannot be said as to Plaintiff that Rent

Recover did not intend to violate the Act. Indeed, Rent Recover was not concerned at all about

violating any bankruptcy court’s automatic stay and attempt to collect any discharged debt so long

as the amount sought was less than $1,000.

       Rent Recover of Better NOI does not conduct a bankruptcy scrub prior to sending out a

letter after the completion of the initial bankruptcy scrub, if the amount of the debt is less than

$1,000 (one thousand dollars). (SMF Exhibit D, Toache Dep. Tr. 63:20 – 64:10), which in response

Rent Recover stated, “Undisputed only for the purposes of deciding Plaintiff’s Motion for

Summary Judgment.” (Def. Resp. to PSMF ¶ 20, PageID #:408); (Exhibit D, Rent Recover

Interrogatory Resp. No. 11) (“Bankruptcy scrubs are done first thing when a file is placed with

Rent Recover for collection. Files that are over $1,000 are scrubbed again before tax letters are

sent.”). Therefore, Rent Recover cannot get over the first hurdle of its burden of proof to establish

the bona fide error that its Act was not intentional. Likewise, setting a $1,000 minimum debt

amount to trigger an inquiry before the form tax season letter is sent out is not reasonable and Rent

Recover has not offered any evidence to rebut this assertion, especially given the five-month lapse

of time between the bankruptcy scrub initially done when the file was placed for collection and

the time when the subject collection letter was sent.

       Finally, at the time of the violation, January 17, 2017, the date the subject form letter was

sent, Rent Recover has not produced any evidence that the landlord had any contractual duty to

inform Rent Recover about any bankruptcy as the only contract, the unsigned contract is dated




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“12th day of April, 2017” and its oddly unsigned. (Exhibit E). Likewise, Rent Recover’s MIDPs

do not identify any person with knowledge at Harbor Detroit Square, LLC of this purported April

12, 2017 contract, or any other written contract between Rent Recover and Harbor Detroit Square,

LLC. (Exhibit F).

   C. “Plaintiff failed to mitigate her [sic] damages”

        Rent Recover has not raised a single fact or legal argument to support its third affirmative

defense, “Plaintiff failed to mitigate her [sic] damages.” Therefore, this Court should grant

Plaintiff’s motion as to this frivolously raised defense.

                                          CONCLUSION

       WHEREFORE the reasons above and in his opening motion, Plaintiff requests this Court

to enter summary judgment in his favor on the: (1) Threshold issues of liability under the FDCPA

and MOC; (2) liability under the FDCPA and MOC; (3) enter a class judgment in an amount sum

certain on his state law claim under the MOC against Rent Recover of Better NOI, trebled if a

willful finding as a matter of law is made; and (4) on the asserted affirmative defenses.


                                       Respectfully submitted,

                                       s/ Curtis C. Warner
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